                                   Case 20-14710                    Doc 1           Filed 04/28/20             Page 1 of 40
 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 DISTRICT OF MARYLAND

 Case number (if known):                                     Chapter       11
                                                                                                                      Check if this is an
                                                                                                                       amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Gold and Silver Auto Sales, LLC

2.   All other names debtor used       dba Auto Market
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           2      6      –      3      6        3     3         8   5     3

4.   Debtor's address                  Principal place of business                                      Mailing address, if different from principal
                                                                                                        place of business

                                       13400 Baltimore Avenue
                                       Number         Street                                            Number     Street


                                                                                                        P.O. Box



                                       Laurel                              MD        20707
                                       City                                State     ZIP Code           City                           State   ZIP Code


                                                                                                        Location of principal assets, if different
                                                                                                        from principal place of business
                                       County



                                                                                                        Number     Street




                                                                                                        City                           State   ZIP Code

5.   Debtor's website (URL)            https://www.automarketlaurel.com

6.   Type of debtor                           Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                              Partnership (excluding LLP)
                                              Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor Gold and Silver Auto Sales, LLC                                                   Case number (if known)

7.   Describe debtor's business        A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                       
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)

                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                            Chapter 7
     debtor filing?                    
                                           Chapter 9
     A debtor who is a "small              Chapter 11. Check all that apply:
     business debtor" must check
     the first sub-box. A debtor as
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                            aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                        affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
     to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                         
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                              OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                              sheet, statement of operations, cash-flow statement, and federal income tax
                                                              return, or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).


                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                              Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                              form.


                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.

                                           Chapter 12




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
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Debtor Gold and Silver Auto Sales, LLC                                                      Case number (if known)

9.   Were prior bankruptcy                   No
     cases filed by or against
     the debtor within the last 8            Yes. District                                        When                    Case number
     years?                                                                                               MM / DD / YYYY
                                                   District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                          MM / DD / YYYY
     separate list.
                                                   District                                        When                    Case number
                                                                                                          MM / DD / YYYY

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                     District                                                    When
     List all cases. If more than 1,                                                                                            MM / DD / YYYY
     attach a separate list.                         Case number, if known


                                                     Debtor                                                      Relationship

                                                     District                                                    When
                                                                                                                                MM / DD / YYYY
                                                     Case number, if known


11. Why is the case filed in             Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                              days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                              any other district.


                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                              district.


12. Does the debtor own or                   No
    have possession of any
    real property or personal
                                             Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
                                                   needed.
    property that needs
                                                   Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                        safety.
                                                        What is the hazard?

                                                       It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                        related assets or other options).


                                                       Other


                                                   Where is the property?
                                                                                 Number      Street




                                                                                 City                                      State        ZIP Code

                                                   Is the property insured?

                                                       No
                                                       Yes. Insurance agency

                                                                 Contact name

                                                                 Phone




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 3
                                   Case 20-14710              Doc 1        Filed 04/28/20             Page 4 of 40
Debtor Gold and Silver Auto Sales, LLC                                                   Case number (if known)


              Statistical and adminstrative information
13. Debtor's estimation of             Check one:
    available funds
                                        Funds will be available for distribution to unsecured creditors.
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                           creditors.

14. Estimated number of                    1-49                              1,000-5,000                          25,001-50,000
    creditors                               50-99                              5,001-10,000                          50,001-100,000
                                                                                                               
                                           100-199                           10,001-25,000                        More than 100,000
                                           200-999

15. Estimated assets                       $0-$50,000                        $1,000,001-$10 million               $500,000,001-$1 billion
                                           $50,001-$100,000                  $10,000,001-$50 million              $1,000,000,001-$10 billion
                                           $100,001-$500,000                 $50,000,001-$100 million             $10,000,000,001-$50 billion
                                           $500,001-$1 million               $100,000,001-$500 million            More than $50 billion

16. Estimated liabilities                  $0-$50,000                        $1,000,001-$10 million               $500,000,001-$1 billion
                                           $50,001-$100,000                  $10,000,001-$50 million              $1,000,000,001-$10 billion
                                           $100,001-$500,000                 $50,000,001-$100 million             $10,000,000,001-$50 billion
                                           $500,001-$1 million               $100,000,001-$500 million            More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of        The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative            this petition.
    of debtor
                                        I have been authorized to file this petition on behalf of the debtor.

                                        I have examined the information in this petition and have a reasonable belief that the information is
                                         true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                           Executed on 04/28/2020
                                                       MM / DD / YYYY

                                           X /s/ Sotir P. Galabov                                   Sotir P. Galabov
                                              Signature of authorized representative of debtor      Printed name

                                           Title Managing Member




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Debtor Gold and Silver Auto Sales, LLC                                        Case number (if known)

18. Signature of attorney         X /s/ Augustus T. Curtis                                        Date   04/28/2020
                                     Signature of attorney for debtor                                    MM / DD / YYYY

                                     Augustus T. Curtis
                                     Printed name
                                     Cohen, Baldinger & Greenfeld, LLC
                                     Firm name
                                     2600 Tower Oaks Blvd.
                                     Number          Street
                                     Suite 103

                                     Rockville                                            MD              20852
                                     City                                                 State           ZIP Code


                                     (301) 881-8300                                       augie.curtis@cohenbaldinger.com
                                     Contact phone                                        Email address
                                     26653                                                MD
                                     Bar number                                           State




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                                     Case 20-14710                 Doc 1      Filed 04/28/20            Page 11 of 40
 Fill in this information to identify the case
 Debtor name          Gold and Silver Auto Sales, LLC

 United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 Case number
 (if known)                                                                                                          Check if this is an
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
           Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    Checking account at Wesbanco Bank                             Checking account                    0   5   7     3                   $3,876.87
3.2.    Checking account at Wesbanco Bank                             Checking account                    0   6   4     4                     $68.59
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                            $3,945.46


 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

          No. Go to Part 3.
          Yes. Fill in the information below.




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 1
                                     Case 20-14710               Doc 1       Filed 04/28/20            Page 12 of 40
Debtor         Gold and Silver Auto Sales, LLC                                               Case number (if known)
               Name

                                                                                                                           Current value of
                                                                                                                           debtor's interest
7.     Deposits, including security deposits and utility deposits

       Description, including name of holder of deposit

7.1.    Security Deposit with Theo Properties (Landlord)                                                                              $8,000.00
8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

       Description, including name of holder of prepayment

9.     Total of Part 2.
       Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                      $8,000.00


 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

          No. Go to Part 4.
          Yes. Fill in the information below.
                                                                                                                           Current value of
                                                                                                                           debtor's interest
11. Accounts receivable

11a. 90 days old or less:                                    –                                        = .............. 
                             face amount                         doubtful or uncollectible accounts

11b. Over 90 days old:                                       –                                        = .............. 
                             face amount                         doubtful or uncollectible accounts

12. Total of Part 3
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                           $0.00


 Part 4: Investments

13. Does the debtor own any investments?

          No. Go to Part 5.
          Yes. Fill in the information below.
                                                                                              Valuation method             Current value of
                                                                                              used for current value       debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

           Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

           Name of entity:                                                 % of ownership:
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

           Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                           $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

          No. Go to Part 6.
          Yes. Fill in the information below.




Official Form 206A/B                             Schedule A/B: Assets -- Real and Personal Property                                            page 2
                                   Case 20-14710              Doc 1     Filed 04/28/20          Page 13 of 40
Debtor       Gold and Silver Auto Sales, LLC                                         Case number (if known)
             Name

     General description                         Date of the     Net book value of     Valuation method           Current value of
                                                 last physical   debtor's interest     used for current value     debtor's interest
                                                 inventory       (Where available)
19. Raw materials                                MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

     Automobiles Held for Resale (See
     Attached Exhibit "A")                       04/01/2020                            (Cost)                             $348,244.00
22. Other inventory or supplies

23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                          $348,244.00

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes. Fill in the information below.

     General description                                         Net book value of     Valuation method           Current value of
                                                                 debtor's interest     used for current value     debtor's interest
                                                                 (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                  $0.00

34. Is the debtor a member of an agricultural cooperative?
     No
     Yes. Is any of the debtor's property stored at the cooperative?
               No
               Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
     No
     Yes



Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 3
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Debtor       Gold and Silver Auto Sales, LLC                                            Case number (if known)
             Name

37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     No
     Yes
 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
                                                                    debtor's interest    used for current value   debtor's interest
                                                                    (Where available)
39. Office furniture

     Office furnishings including chairs and side
     tables, sofa and filing cabinets.                                                                                         $300.00
40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

     Copy Machine, 2 Computers.                                                                                                $300.00
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                               $600.00

44. Is a depreciation schedule available for any of the property listed in Part 7?
     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     No
     Yes
 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes. Fill in the information below.

     General description                                            Net book value of    Valuation method         Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value   debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

     Automobile supplies, motor oil and fluids.                                                                                $400.00
51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                               $400.00




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                     page 4
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Debtor        Gold and Silver Auto Sales, LLC                                            Case number (if known)
              Name

52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes
 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.


55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property           Nature and extent       Net book value of    Valuation method       Current value of
       Include street address or other description    of debtor's interest    debtor's interest    used for current       debtor's interest
       such as Assessor Parcel Number (APN),          in property             (Where available)    value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                          $0.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes
Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

         No. Go to Part 11.
         Yes. Fill in the information below.

      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

      website - https://www.automarketlaurel.com                                                                                       $100.00
62. Licenses, franchises, and royalties

      Maryland Automobile Dealer's License                                                                                                $0.00
63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                       $100.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes

Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                            page 5
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Debtor       Gold and Silver Auto Sales, LLC                                             Case number (if known)
             Name

68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes. Fill in the information below.

                                                                                                                    Current value of
                                                                                                                    debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

     12 auto lot signs.                                                                                                          $100.00
78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                 $100.00

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                      page 6
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Gold and Silver Auto Sales, LLC - Exhibit A to Schedule A/B (Inventory of Automobiles)

     year          make           model                stock number
 1          2001   Saturn         Ls 200                  510746               $900.00
 2          2017   Subaru         Forester                404894             $7,319.00
 3          2019   Chevrolet      Malibu                  176256             $5,794.00
 4          2016   Hyundai        Sonata                  300260             $5,269.00
 5          2015   Vw             Golf                   067869              $5,660.00
 6          2016   Dodge          Dart                    766475             $2,059.00
 7          2017   Chevrolet      Sonic                   125124             $1,829.00
 8          2012   Vw             Jetta                   398863               $689.00
 9          2011   Nissan         350Z                    360731             $5,566.00
10          1995   Chevrolet      S10                     214221               $299.00
11          1996   Ford           Ranger                  B10855             $1,084.00
12          2017   Nissan         Rogue                   743655             $4,544.00
13          2017   Ford           Focus                   252420             $4,448.00
14          2017   Hyundai        Elantra                 297446             $5,169.00
15          2017   Subaru         Legacy                 069074              $5,005.00
16          2012   Ford           Fusion                  241070               $689.00
17          2006   Infiniti       M35                     113057             $2,000.00
18          2017   Kia            Forte                  036226              $2,919.00
19          2017   Subaru         lmpreza                 618061             $3,108.00
20          2013   Hyundai        Veloster                181139             $2,609.00
21          2015   Honda          Fit                     714211             $1,599.00
22          2017   Buick          Encore                  188778             $4,419.00
23          2016   Subaru         Outback                 304156             $4,598.00
24          2016   Kia            Sorento                 079037             $8,449.00
25          2016   Mitsubishi     Outlander               010299             $5,794.00
26          2013   Hyundai        Veloster                122169             $1,949.00
27          2018   Subaru         Crosstrek               328405             $7,219.00
28          2015   Nissan         Juke                    566169             $6,919.00
29          2019   Subaru         Wrx                     826397             $7,919.00
30          2016   Scion          Im                      506061             $3,659.00
31          2017   Chrysler               200             505495             $4,544.00
32          2017   Vw             Jetta                   352748             $4,638.00
33          2010   chevrolet      lmplala                 139280               $689.00
34          2016   Mazda                    3             262985             $2,919.00
35          2015   Chevrolet      Malibu                  178749             $3,031.00
36          2017   Nissan         Sentra                  294833             $3,073.00
37          2017   Subaru         Legacy                   48787             $1,895.00
38          2016   Vw             Jetta                   212222             $4,219.00
39          2015   Vw             Golf                   087948              $5,209.00
40          2015   Honda          Fit                     777590             $3,019.00
41          2017   Subaru         lmpreza                 712349             $5,580.00
42          2013   Vw             Jetta                   247001             $3,119.00
43          2015   Honda          Fit                     717795             $4,288.00
44          2013   Jeep           Compass                 231815             $1,949.00
45          2006   Subaru         Legacy                  328576               $329.00
46          2015   Kia            Optima                  504829             $4,809.00
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47   2016 Subaru             Legacy                     017743             $2,480.00
48   2017   Honda            Fit                        007421             $3,358.00
49   2016   Hyundai          Accent                     026611             $1,714.00
50   2007   Lincoln          Mkz                         642930              $804.00
51   2016   Honda            Fit                        001696               2,689.00
52   2018   Honda            Fit                         712094            $2,394.00
53   2015   Hyundai          Sonata                      229687            $3,769.00
54   2017   Volvo            S60                         133038            $7,619.00
55   2015   Honda            Accord                     006701             $7,478.00
56   2015   Honda            Accord                      143108            $5,694.00
57   2018   Subaru           Legacy                     025181             $4,325.00
58   2016   Ford             Focus                       368180            $2,169.00
59   2011   Chevrolet        Camara                     173602             $2,110.00
60   2017   Honda            Fit                        706875             $4,723.00
61   2017 Nissan             Altima                     140563             $4,119.00
62   2018 Honda              Civic                      021518             $4,384.00
63   2008 Hyundai            Sonata                     369750                  $539
64   2016 Honda              cr-v                       608586             $6,094.00
65   2009 Chevrolet          Hhr                        550937              $689.00
66   2018 Honda              Civic                      584742             $4,544.00
67   2018   Honda            Fit                        724404             $4,219.00
68   2014   Chrysler         Town Country               111144             $4,009.00
69   2006   Kia              Sedona                     030343             $4,000.00
70   2017   Nissan           Pathfinder                 667115             $5,894.00
71   2018   Toyota           Sienna                      927411           $12,689.00
72   2011   Honda            Fit                        008279             $1,034.00
73   2015   Dodge            Journey                     631738            $2,716.00
74   2017   Nissan           Sentra                      320047            $2,018.00
75   2017   Hyundai          Santa Fe                   011276             $9,202.00
76   2015 Buick              Encore                      188445            $3,659.00
77   2017 Mazda                         3                100410              2,273.00
78   2019 Subaru             Forester                   524282             $6,719.00
79   2018 Mazda                         3               163276             $1,908.00
80   2017 Subaru             Forester               5438354                $6,394.00
81   2019 Mitsubishi         Outlander                47391                $5,169.00
82   2015   Honda            Crosstour              000071                 $3,408.00
83   2015   Subaru           Legacy                  039049                $3,333.00
84   2017   Vw               Jetta                      297489             $3,769.00
85   2017   Toyota           Corolla                    844758             $3,848.00
86   2017   Chevrolet        Travers                    309516               5,069.00
87   2011 Jaguar             Xf                         R88471               4,809.00
88   2018 Chevrolet          Cruze                      577042             $5,794.00
89   2016 Mini               Cooper                     015501             $1,823.00
                                                                          ##########
                                                                          348,244.00
                                           Case 20-14710                      Doc 1         Filed 04/28/20                Page 19 of 40
Debtor          Gold and Silver Auto Sales, LLC                                                                 Case number (if known)
                Name


Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                         Current value of                         Current value of
                                                                               personal property                        real property


80. Cash, cash equivalents, and financial assets.                                        $3,945.46
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                       $8,000.00

82. Accounts receivable. Copy line 12, Part 3.                                                 $0.00

83. Investments. Copy line 17, Part 4.                                                         $0.00

84. Inventory. Copy line 23, Part 5.                                                  $348,244.00

85. Farming and fishing-related assets.                                                        $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                              $600.00
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                                     $400.00
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9................................................................                              $0.00

89. Intangibles and intellectual property.                                                  $100.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                  +             $100.00

91. Total. Add lines 80 through 90 for each column.                    91a.           $361,389.46           +    91b.                 $0.00


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.......................................................................................   $361,389.46




Official Form 206A/B                                     Schedule A/B: Assets -- Real and Personal Property                                                    page 7
                                     Case 20-14710              Doc 1         Filed 04/28/20           Page 20 of 40
 Fill in this information to identify the case:
 Debtor name          Gold and Silver Auto Sales, LLC

 United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 Case number                                                                                                      Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
                                                           subject to a lien

          Creditor's mailing address
                                                           Describe the lien


                                                           Is the creditor an insider or related party?
                                                            No
          Creditor's email address, if known                Yes
                                                           Is anyone else liable on this claim?
          Date debt was incurred                            No
          Last 4 digits of account                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                  Contingent
              No                                              Unliquidated
          
              Yes. Specify each creditor, including this      Disputed
          
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                                         $0.00


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
                                    Case 20-14710             Doc 1        Filed 04/28/20             Page 21 of 40
 Fill in this information to identify the case:
 Debtor              Gold and Silver Auto Sales, LLC

 United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 Case number                                                                                                  Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the
                                                                claim is: Check all that apply.

                                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?

Last 4 digits of account
                                                                 No
number
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
                                   Case 20-14710             Doc 1       Filed 04/28/20           Page 22 of 40
Debtor        Gold and Silver Auto Sales, LLC                                          Case number (if known)

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                      $500.00
                                                                   Check all that apply.
Dealer Services                                                     Contingent
4751 Wilshire Boulevard, Ste 205                                    Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Los Angeles                              CA      90010             Business Debt

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $23,560.00
                                                                   Check all that apply.
Georgi Georgiev                                                     Contingent
7501 Calderon Court, Unit C                                         Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Alexandria                               VA      22306             Business Debt

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes
7501 Calderon Court, Unit C
Alexandria VA 22306

     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                      $427.00
                                                                   Check all that apply.
Pepboys                                                             Contingent
3111 W Allegheny Avenue                                             Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Philadelphia                             PA      19132             Business Debt

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                 $179,303.00
                                                                   Check all that apply.
Scott and Kaitlin McKay                                             Contingent
(and others similarly situated)                                     Unliquidated
The Goldson Law Office, LLC                                         Disputed
1734 Elton Road, Ste 210                                           Basis for the claim:
Silver Spring                            MD      20903             Judgment

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page 2
                                  Case 20-14710          Doc 1       Filed 04/28/20           Page 23 of 40
Debtor       Gold and Silver Auto Sales, LLC                                       Case number (if known)

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.              Amount of claim

   3.5     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:             $10,000.00
                                                               Check all that apply.
The Law Office of Paul C. Balassa, LLC                          Contingent
2138 Priest Bridge Court, Suite 1                               Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Crofton                                MD     21114            Legal Services

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

   3.6     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:              $8,245.00
                                                               Check all that apply.
Theo Properties                                                 Contingent
c/o Demetrios Theo                                              Unliquidated
8109 Fe Carter Road                                             Disputed
                                                               Basis for the claim:
Laurel                                 MD     20724            Lease Arrearages

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                      page 3
                                Case 20-14710            Doc 1       Filed 04/28/20     Page 24 of 40
Debtor      Gold and Silver Auto Sales, LLC                                   Case number (if known)

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                       $0.00

5b. Total claims from Part 2                                                              5b.   +            $222,035.00


5c. Total of Parts 1 and 2                                                                5c.                $222,035.00
    Lines 5a + 5b = 5c.




Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                   page 4
                                    Case 20-14710             Doc 1        Filed 04/28/20            Page 25 of 40
 Fill in this information to identify the case:
 Debtor name         Gold and Silver Auto Sales, LLC

 United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 Case number                                                  Chapter      11                                     Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?

         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Office Management Contract                      G&G International
          or lease is for and the
                                                                                        7501 Calderon Court, Unit C
          nature of the debtor's
          interest
                                        Contract to be ASSUMED
          State the term remaining
                                                                                       Alexandria                          VA            22306
          List the contract
          number of any
          government contract

2.2       State what the contract       Lease of Automobile Dealership                  Theo Properties
          or lease is for and the       Contract to be ASSUMED                          8109 Fe Carter Road
          nature of the debtor's
          interest

          State the term remaining      60 payment(s)
          List the contract
          number of any
                                                                                       Laurel                              MD            20724
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
                                   Case 20-14710              Doc 1        Filed 04/28/20           Page 26 of 40
 Fill in this information to identify the case:
 Debtor name         Gold and Silver Auto Sales, LLC

 United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 Case number                                                                                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.   Does the debtor have any codebtors?
      No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
      Yes
2.   In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
     schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
     owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
     separately in Column 2.

        Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                             Check all schedules
      Name                            Mailing address                                        Name                            that apply:




Official Form 206H                                           Schedule H: Codebtors                                                           page 1
                                                  Case 20-14710                           Doc 1              Filed 04/28/20                       Page 27 of 40
 Fill in this information to identify the case:


 Debtor Name Gold and Silver Auto Sales, LLC

 United States Bankruptcy Court for the:                      DISTRICT OF MARYLAND

 Case number (if known):                                                                                                                                                                 Check if this is an
                                                                                                                                                                                          amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15



 Part 1:            Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                                $0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B...........................................................................................................................                         $361,389.46

     1c. Total of all property
         Copy line 92 from Schedule A/B.............................................................................................................................                        $361,389.46


 Part 2:            Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.......................................                                                             $0.00

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..............................................................................                                               $0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F..................................................                                            +     $222,035.00


4.   Total liabilities
     Lines 2 + 3a + 3b.............................................................................................................................................................         $222,035.00




Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
                                  Case 20-14710               Doc 1         Filed 04/28/20           Page 28 of 40
 Fill in this information to identify the case and this filing:
 Debtor Name         Gold and Silver Auto Sales, LLC

 United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 Case number
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

            I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
            or another individual serving as a representative of the debtor in this case.

            I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
            correct:



                Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                Schedule H: Codebtors (Official Form 206H)

                A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                Amended Schedule

                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                 (Official Form 204)

                Other document that requires a declaration


            I declare under penalty of perjury that the foregoing is true and correct.

            Executed on 04/28/2020                       X /s/ Sotir P. Galabov
                        MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                             Sotir P. Galabov
                                                             Printed name
                                                             Managing Member
                                                             Position or relationship to debtor




Official Form B202                     Declaration Under Penalty of Perjury for Non-Individual Debtors
                                  Case 20-14710               Doc 1         Filed 04/28/20        Page 29 of 40
 Fill in this information to identify the case:
 Debtor name        Gold and Silver Auto Sales, LLC

 United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 Case number
 (if known)                                                                                                    Check if this is an
                                                                                                                amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                  04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

        None

Identify the beginning and ending dates of the debtor's fiscal year,           Sources of revenue                             Gross revenue
which may be a calendar year                                                   Check all that apply.                          (before deductions
                                                                                                                              and exclusions


From the beginning of the                                                         Operating a business
                                 From    01/01/2020      to   Filing date
fiscal year to filing date:                                                        Other
                                        MM / DD / YYYY                                                                               $198,500.14

                                                                                  Operating a business
For prior year:                  From    01/01/2019      to    12/31/2019
                                        MM / DD / YYYY        MM / DD / YYYY      Other                                         $1,897,828.00

                                                                                  Operating a business
For the year before that:        From    01/01/2018      to    12/31/2018
                                        MM / DD / YYYY        MM / DD / YYYY      Other                                         $1,402,333.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
     adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)


        None




Official Form 207                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 1
                                    Case 20-14710                Doc 1        Filed 04/28/20             Page 30 of 40
Debtor         Gold and Silver Auto Sales, LLC                                                 Case number (if known)
               Name

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


        None

5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.


        None

6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.


        None

 Part 3:        Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.


        None

      Case title                             Nature of case                             Court or agency's name and address               Status of case
7.1. McKay et al. v. Gold and                Civil Action/Maryland                      Circuit Court for Prince George's Coun
                                                                                                                                             Pending
      Silver Auto Sales, LLC                 Consumer Protection Act                    Name

                                                                                                                                             On appeal
                                                                                        Street
                                                                                                                                             Concluded

      Case number
      00488
                                                                                        City                      State   ZIP Code

8.   Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

        None




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Debtor          Gold and Silver Auto Sales, LLC                                           Case number (if known)
                Name


 Part 4:          Certain Gifts and Charitable Contributions
9.   List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
     aggregate value of the gifts to that recipient is less than $1,000

         None

 Part 5:          Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

         None

 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.


         None

         Who was paid or who received the transfer?           If not money, describe the property             Dates               Total amount
                                                              transferred                                                         or value
 11.1. Cohen, Baldinger & Greenfeld, LLC                                                                      4/2020                 $10,000.00

         Address


         Street




         City                        State   ZIP Code

         Email or website address



         Who made the payment, if not debtor?



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.


         None




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Debtor       Gold and Silver Auto Sales, LLC                                               Case number (if known)
             Name

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.


        None

 Part 7:        Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

        Does not apply


 Part 8:        Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

      diagnosing or treating injury, deformity, or disease, or

      providing any surgical, psychiatric, drug treatment, or obstetric care?

        No. Go to Part 9.
        Yes. Fill in the information below.

 Part 9:        Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

        No.
        Yes. State the nature of the information collected and retained

                Does the debtor have a privacy policy about that information?
                 No.
                 Yes.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

        No. Go to Part 10.
        Yes. Does the debtor serve as plan administrator?
               No. Go to Part 10.
               Yes. Fill in below:




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
                                    Case 20-14710               Doc 1        Filed 04/28/20             Page 33 of 40
Debtor       Gold and Silver Auto Sales, LLC                                                Case number (if known)
             Name


 Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.


        None

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

        None

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

        None

 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


        None

 Part 12:       Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

 Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
  the medium affected (air, land, water, or any other medium).


 Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
  formerly owned, operated, or utilized.

 Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
  similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

        No
        Yes. Provide details below.




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Debtor       Gold and Silver Auto Sales, LLC                                                Case number (if known)
             Name

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

        No
        Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

        No
        Yes. Provide details below.

 Part 13:       Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

        None

26. Books, records, and financial statements

     26a.   List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                None

                Name and address                                                                    Dates of service

       26a.1. Leandro Marinho                                                                       From        2010           To       2020
                Name
                Centro Latino de Finanzas
                Street
                11401 Grandview Ave, Suite 6

                Silver Spring                                 MD          20902
                City                                          State       ZIP Code

     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
            statement within 2 years before filing this case.

                None

     26c.   List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                None

     26d.   List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
            financial statement within 2 years before filing this case.

                None

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

        No.
        Yes. Give the details about the two most recent inventories.

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                     Address                                      Position and nature of any interest           % of interest, if any

Sotir P Galubov                          19562 Ridge Heights Drive                    Managing Member                                      100%
                                         Gaithersburg, MD 20879




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Debtor          Gold and Silver Auto Sales, LLC                                           Case number (if known)
                Name

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

         No
         Yes. Identify below.

Name                                      Address                                    Position and nature of       Period during which position
                                                                                     any interest                 or interest was held
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

         No
         Yes. Identify below.

         Name and address of recipient                  Amount of money or description         Dates            Reason for
                                                        and value of property                                   providing the value


 30.1. Sotir P. Galabov                                 Draws
         Name                                           $75,000.00
         Street




         City                    State   ZIP Code

         Relationship to debtor
         Owner

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

         No
         Yes. Identify below.

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

         No
         Yes. Identify below.

 Part 14:         Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 04/28/2020
            MM / DD / YYYY
X /s/ Sotir P. Galabov                                                       Printed name Sotir P. Galabov
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor Managing Member


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




Official Form 207                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 7
                                 Case 20-14710            Doc 1         Filed 04/28/20       Page 36 of 40
 Fill in this information to identify the case:
 Debtor name        Gold and Silver Auto Sales, LLC

 United States Bankruptcy Court for the: DISTRICT OF MARYLAND

 Case number                                                                                                              Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and           Name, telephone        Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing               number, and email      (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip         address of             debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                           creditor               professional          unliquidated,   secured, fill in total claim amount and
                                contact                services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction       Unsecured
                                                                                             claim, if       for value       claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
1   Scott and Kaitlin McKay                            Judgment              Disputed                                           $179,303.00
    (and others similarly
    situated)
    The Goldson Law Office,
    LLC
    1734 Elton Road, Ste 210
2   Georgi Georgiev                                    Business Debt                                                              $23,560.00
    7501 Calderon Court,
    Unit C
    Alexandria VA 22306



3   The Law Office of Paul                             Legal Services                                                             $10,000.00
    C. Balassa, LLC
    2138 Priest Bridge Court,
    Suite 1
    Crofton, Maryland 21114

4   Theo Properties                                    Lease Arrearages                                                            $8,245.00
    c/o Demetrios Theo
    8109 Fe Carter Road
    Laurel, MD 20724



5   Dealer Services                                    Business Debt                                                                 $500.00
    4751 Wilshire Boulevard,
    Ste 205
    Los Angeles, CA 90010




Official Form 204      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                      page 1
                               Case 20-14710           Doc 1        Filed 04/28/20        Page 37 of 40
Debtor       Gold and Silver Auto Sales, LLC                                    Case number (if known)
             Name


 Name of creditor and         Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing             number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip       address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                         creditor              professional          unliquidated,   secured, fill in total claim amount and
                              contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                    government                            calculate unsecured claim.
                                                    contracts)
                                                                                          Total           Deduction       Unsecured
                                                                                          claim, if       for value       claim
                                                                                          partially       of
                                                                                          secured         collateral
                                                                                                          or setoff
6   Pepboys                                         Business Debt                                                                 $427.00
    3111 W Allegheny
    Avenue
    Philadelphia, PA 19132




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 2
                                Case 20-14710          Doc 1     Filed 04/28/20              Page 38 of 40
                                      UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF MARYLAND
                                             GREENBELT DIVISION
  IN RE:   Gold and Silver Auto Sales, LLC                                          CASE NO

                                                                                    CHAPTER       11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 4/28/2020                                           Signature    /s/ Sotir P. Galabov
                                                                     Sotir P. Galabov
                                                                     Managing Member


Date                                                     Signature
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        Dealer Services
        4751 Wilshire Boulevard, Ste 205
        Los Angeles, CA 90010



        G&G International
        7501 Calderon Court, Unit C
        Alexandria VA 22306



        Georgi Georgiev
        7501 Calderon Court, Unit C
        Alexandria VA 22306



        Pepboys
        3111 W Allegheny Avenue
        Philadelphia, PA 19132



        Scott and Kaitlin McKay
        (and others similarly situated)
        The Goldson Law Office, LLC
        1734 Elton Road, Ste 210
        Silver Spring, MD 20903

        The Law Office of Paul C. Balassa, LLC
        2138 Priest Bridge Court, Suite 1
        Crofton, Maryland 21114



        Theo Properties
        c/o Demetrios Theo
        8109 Fe Carter Road
        Laurel, MD 20724


        Theo Properties
        8109 Fe Carter Road
        Laurel MD 20724
                                    CaseUNITED
                                        20-14710  DocBANKRUPTCY
                                               STATES 1 Filed 04/28/20
                                                                  COURTPage 40 of 40
                                                     DISTRICT OF MARYLAND
                                                      GREENBELT DIVISION
    IN RE:                                                                         CHAPTER       11
    Gold and Silver Auto Sales, LLC


    DEBTOR(S)                                                                      CASE NO



                                            LIST OF EQUITY SECURITY HOLDERS

 Registered Name of Holder of Security                             Class of Security          Number Registered          Kind of Interest
 Last Known Address or Place of Business                                                                                 Registered

 Sotir P. Galabov                                                  Membership interest        100%
 19562 Ridge Heights Drive
 Gaithersburg MD 20879

                                         DECLARATION UNDER PENALTY OF PERJURY
                                       ON BEHALF OF A CORPORATION OR PARTNERSHIP

    I, the                   Managing Member                         of the                        Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the
best of my information and belief.




       4/28/2020
Date:__________________________________                            /s/ Sotir P. Galabov
                                                        Signature:________________________________________________________
                                                                   Sotir P. Galabov
                                                                   Managing Member
